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Attorneys for John W. Hargrave, Chapter 7 Trustee

                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF NEW JERSEY

In re:
                                                 Case No. 17-24394-KCF
Parabhsaran S. Nayar and Manjit K. Nayar,

                              Debtor.            Chapter 7


 NOTICE OF REVISED MOTION FOR AN ORDER AUTHORIZING TRUSTEE TO SELL
DEBTORS’ PROPERTY I.) AUTHORIZING THE CHAPTER 7 TRUSTEE TO SELL 2 FOX
 HOLLOW DRIVE, JACKSON, NJ 08527 FREE AND CLEAR OF LIENS, WITH THOSE
LIENS TO ATTACH TO PROCEEDS, PURSUANT TO 11 U.S.C. §363(B) AND §363(F); AND
    II.) AUTHORIZING THE CHAPTER 7 TRUSTEE TO PAY, AT CLOSING, ALL
OUTSTANDING MUNICIPAL CHARGES, CLOSING COSTS (INCLUDING REAL ESTATE
  COMMISSION) AND THE FIRST MORTGAGE ON THE PROPERTY IN FAVOR OF
        OCWEN LOAN SERVICING PURSUANT A CARVE OUT AGREEMENT

         PLEASE TAKE NOTICE that the undersigned, attorneys for John W. Hargrave Esquire,

Chapter 7 Trustee for the Estate of Parabhsaran S. Nayar and Manjit K. Nayar, shall move before Chief

Judge Kathryn C. Ferguson at the United States Bankruptcy Court located at 402 East State Street,

Trenton, NJ 08608, Courtroom #2, on December 4, 2018, or as soon thereafter as Counsel may be

heard, on Motion for an Order Authorizing Trustee to Sell Debtors’ Property.

         In support of this Motion, reliance shall be placed upon the supporting certification filed

herewith, and upon further documentary evidence and/or testimony, together with any legal argument

which may be required at the hearing.

         Your rights may be affected. You should read these papers carefully and discuss them

with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you

may wish to consult one.)




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         If you do not want the Court to enter an Order authorizing the sale of the property, or if you

want the Court to consider your views on the Motion, you must file with the Court a written response

explaining your position by mailing it to:

         Clerk of the Court
         Clarkson S. Fisher US Courthouse
         402 East State Street
         Trenton, NJ 08608

You must also mail a copy to:

         Damien Nicholas Tancredi
         Flaster/Greenberg P.C.
         1835 Market Street, Suite 1050
         Philadelphia, PA 19103

         The response must be served no later than seven (7) days prior to the hearing date set forth

herein, pursuant to D.N.J. LBR 9013-1(a).

         Attend the hearing scheduled to be held on December 4, 2018 at 10:00 a.m. at Courtroom # 2,

Clarkson S. Fisher U.S. Courthouse, 402 East State Street, Trenton, NJ 08608.

         If you or your attorney do not take these steps, the Court may decide that you do not oppose the

relief sought in the Motion and may enter an Order granting that relief.

         Oral argument is not requested and no brief is necessary, as it does not present complicated

questions of fact or unique questions of law.

                                                FLASTER/GREENBERG P.C.



                                                /s/ Damien Nicholas Tancredi
                                                Damien Nicholas Tancredi
Date: October 31, 2018




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